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                     UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NEW YORK


__________________________________________

CONSUMER FINANCIAL PROTECTION
BUREAU, et al.,

                   Plaintiffs,
v.                                                      CASE NO. 24-cv-40 EAW-MJR

STRATFS, LLC (f/k/a STRATEGIC
FINANCIAL SOLUTIONS, LLC), et al.

                   Defendants, and

DANIEL BLUMKIN, et al.,

                  Relief Defendants.
__________________________________________

                                 NOTICE OF MOTION

MOTION ON BEHALF OF:              Non-party, Clover Management, Inc.
                                  (“Clover”), by and through its attorneys, Woods Oviatt
                                  Gilman LLP

DATE, TIME & PLACE:               At a date and time to be set by the Court before the
                                  Hon. Michael J. Roemer, United States Magistrate
                                  Judge, at the Robert H. Jackson United States Courthouse,
                                  2 Niagara Square Buffalo, New York 14202

                                  Oral argument is requested.

SUPPORTING PAPERS:                Declaration of Teia M. Bui, dated November 19, 2024, with
                                  annexed exhibits; Declaration of Brian D. Gwitt, dated
                                  November 21, 2024, with annexed exhibits; and all prior
                                  pleadings and proceedings had herein.

RELIEF REQUESTED:                 An Order lifting the Stay Order so that Fund V and Fund VI
                                  can make capital calls to dilute Blaise, Fusion, and Axel’s
                                  membership interests.




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         Pursuant to Local Rule 7(a)(1), Clover intends to file and serve reply papers and, as a result,

any papers in opposition to this motion are required to be filed and served at least fourteen (14)

business days prior to the return date of this motion.


Dated: November 21, 2024
       Buffalo, New York

                                                         WOODS OVIATT GILMAN LLP

                                                 By:        /s/ Brian D. Gwitt
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